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Ahmad J. Ekhlas
43 Edelweiss
RSM, CA 92688

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT GF CALIFORNIA

 

SOUTHERN DIVZS{GN

 

Ahmad J. Ekhlas,,,
Plaintiff`, Ca,se No.:

vs. COMPLAINT

NCO FINANCLAL SYSTEMS, INC., TRIAL BY }URY DBMANDED
Defendant.

 

 

1. This is an action for damages brought from viofa‘iions cf the Fair Credit Reporting Act
(he:‘einafter “FCRA”) 15 U.S.C. §3681 et Seq., the Fair Debt Coiiection Practices Act
(hereinafter “FDCPA”) }5 U.S.C. §1692 et Seq,, and the Rosenthal Fair Deb£ Col}ection
Practices Act (hereinai¥;er “RFDCI’A”) Califomia Civi! C<zde 1?38 et seq

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This court has jurisdiction under 15 U.S.C. §16811), 15 U.S.C. § 16921<(<1), Caiifornia Civil
Cede 1?88.30®5 and 28 U.S.C. § 331
All conditions precedent have eccurred er been performed

w
The occurrences giving rise to this ae¥;ien eecurreé in Orenge Cem'lty, Ce}ifemia, and
Piaintiff resides in Grange County, Caiifomie
Venue is proper in the Cen?;ial District of Califomia Southem Division pursuant to 28
U.S.C § 1391

PAR'HES

The Piaini;i§`, Ahmad 3. Ekhlas (hereiriaf£er “Piaintiii`”), is a natural person residing in
Orange County, Celifomia.
Plaintiff` is a “eonsumer” Within the meaning of the FCRA, 15 U.S.C. § iéSia(c), and the
FDCPA 15 U.S.C. § 16923(3).
Pia.intiff is a “<;iebtor” as defined by the RFBCPA Celif€)rnie Civi§ Cede 1788.2(}1).
The Defendzmt, NCO FINANCIAL SYSTEMS, INC., (hereinafter “NCO”), is a
Pennsyivania business entity with offices at 597 Prudeniial Rd, H(:,»i”sha,n')j PA 19044.
Defendant, NCG, is a “persen” within the meaning efthe FCRA, 15 U.S.C. § 16813(1)).
Defendam‘, NC€), is a “deb€ eel§ecter” Within the meaning ofthe FDCPA, 15 U.S.C. §
16923(6) , and ihe RFDCPA Califomie Civii Cede }?88.2.

   

TransUnion is a “censumer repeting agency” within the meaning of the F€RA, §§ U.S.C.

§ 1631@@.

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13. Plaintiff obtained his consumer reports from the major consumer reporting agencies and
found entries within the reports by entities that he was unfamiiiar with

14. Plaintit`f found after examination of his TransUnion consumer report that Defendant, NCO,
had obtained Piaintiff’ s 'i"ransUnion consumer report in August 2012.

15. Defendant, NCG, attempted to ooilect a “¢;§ebt”, as denned in 15 U.S.C. § i692a(5).

16. In attempting to coliect said debt, defendantj NCO, engaged in “connnwiications” as
defined in 35 U.S.C, § 36923(2).

17. Discovery of the Def`endant$s actions occurred in April 2013 and are Withio the statute of
limitations as de§ned in the FCRA, 15 U.S.`C. § 1681;3.

18. Discovery of the Defendant’s actions has caused Piainti?t` emotional distress

19. AII vioiations compie,ineti ofherein occurred Within the statute of iimitat:ions of the
appiicabie statutes both state and federei.

2(). On April 29, 2913, Plaintifi` sent a notice via USPS Certiiied Maii with tracking number
7012 3050 0{)€)0 9229 5315 to Defenéant, NCO, of theis vio§ation oftne FCRA§ FDCPA,
and RFDCPA in an effort to mitigate damages mo reach a settiement for their violations in
obtaining Piaintii`f’ s consumer report before taking civil action against them

Zl. Plaintit`t` engaged in discussions With outside counsel representing NCC¥ but failed to reach
an acceptable agreement regarding damages to be paid to Plainti&`.

sees:;r..i
V§OLAT!ON §§ THE FCRA 15 EJ.S.C. § 3681 ET SEQ,
WILLFUL AND)'O§§ KN€}WING N€)N€€PMPL§ANCE B`Y §}EFENBANT NCG

22. Plaintifi` repeats and re~aileges each and every aiiegation stated above as though fully

stated herein

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The FCRA, l5 U.S.C. § 1681b clean the permissible purpose for Which a person may
obtain a consumer report
Such permissible purposes as defined ‘oy 15 U.S.'C. § 1681b are generally, if the consumer
makes application for credit, employment, underwriting of insurance involving the
consumer, or is o§ereri a bona fide offer of credit as a resuit of the inquiry
Piaintit`i` has never had any business dealings or any accounts With, marie application for
credit from, made appiication for employment vvitli, applied for insurance frorn, nor
received a bona iicie offer of credit from the Defenriaot, NC€).
At no time did Plaintii'i` give his consent for Dei`en<iant, NCG, to acquire his consumer
report from any consumer reporting agency
Defendant, NCO, demonstrated Wiiit`ui and/or brewing noncompliarice vvith the FCRA, l5
U.S.C, § io§§ii) by obtaining Plaintiii"s TraosUnion consumer report on Aogust 2(), 2012
With rio permissible purpose
Dei`endant, NCO, Willf`uliy and/or knowingly obtained Piairitifi" s consumer report With no
permissible purpose vioiating the FCR.A,. 15 U.S.C. § ie§lb ami violating Piaintit`f’s right
to privacy
Dei`endant, NCO, had a duty to properly ascertain ii there was any legitimate permissible
purpose before obtaining Piairitii`i” s consumer report and NCO breached said duty by
failing to do so. 'l.`liere Was rio account that NCO had any right to collect to have had
permissible purpose to obtain Piaintii`i’s consumer report and therefore Plaintii`f is entitled
to damages

§’RAYER FOR REL§§§F

WHEREF€)RE, Plainti§ prays for relief and judgment in Plaintii`t" s favor, as follows

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1 a. Adj udging that Det`endant, NCO, violated the FCRA.
2 b. Awarding Plaintif€ statutory damages pursuant to the FCRA §§ U.S.C‘ § loflin in the
3 amount of $1000, against Det`endant;
: c. Awarding Plaintiti` actual damagesj in the amount of SIO()(), against Defendant;
6 d. rewarding Plar'ritit`t` any attorneys fees and costs incurred in this action, against
7 Det`endant;
3 e. Awarding §’laintil?r` any pre-judgment and postjudgment interest as may be allowed
9 under the law, against Defendant;
:(: f. Awarding Plaintit`t` such other and timber relief as the Coort may deem just and proper,
12 against Defendant.
13 §.;QB_'§.;I§
14 `VK)LA'§`K)N GF THE FE)CPA §§ U,S.C. § i692 E'§` SEQ.
15 WiLL§*`U§, AN§}}GR KNGWING NGNC{)N§PLMCE BY §}§*ZFEN§)ANT NCO
16 30. Plaintifl` repeats rand re~alleges each and every al§egatioo stated above as though fully
:; stated herein
19 31. Defendant, NCG, taiied to send Plaintift` a Written notice edthin five days after tire initial
20 communication in violation of 15 U.S.C, § lo§Zg(a).
21 32. Defendant, NCQ, had a duty to properly ascertain if there ives any legitimate debt owed to
22 defendant before attempting to collect a debt from Plairrtiff, and Defendant breached said
:: duty by failing to do so5 and therefore Plaintiff is entitled to damages
25 WHER}§FQRE, Plainti§ prays for relief and judgment in Plaintiff" s favor, as follows:
26 g. Adjudging that Defendant, NC(), violated the PDCPA.
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h. Awarding Piaintiff Statutezy damages, pursuant to the FDCPA 15 U.S.C. § 16921< in
the amount of SIO€)€}, agains€ Defendant;
i. Awarding Plaintiff actua§ damages, in the amount of $3060 against Defendant;
j. Awa.rding P}a;intiff any aitorney’s fees and cosis incurred in ihis aciion, against
Defendant;
k. Awarding Piaietiff any pre-judgment and postjudgment interest as may be allowed
under the iaw, against Defendant;
1. Awarding Piain£i&` Such other amf further reiief` ae the Court may deem juSt and proper,
against Defendant.
CGUNT HI
VIGLATE€)N GF THE RF§)CPA
W§LLFE}L AND!{}R KNOWING NONCOMHJIAN€E BY DEFE€NDANT NCO

33. Plaintiff repeats and re-a§ieges each and every aiiegation etated above

34. Defendant, NCO, has demonstrated efinfo and/or knowing noncompliance with R.FDCPA
1788.17 by faiiing to comply with the provisions of 15 U.S.C. § §692{) to 1692j.

35. Defendaet, NCG, had a duty to properiy ascertain if there Was any legitimate debt owed to
defendant before attempting to eo§lect a debt from Plaini:iif, and Defendani breached Said
duty by failing to do so, and therefore Plaintif£` is entiifed to emges.

WHEREFSRE, Piaim:iff prays for relief and judgment in Plaintifi"s favor, as follows:
m. Adjudging that Defendant, NCO, violated the RFDCPA.
n. Awa.rding PIaintiE statutory damages, pereoant to the RFDCPA 17 33.3() in the amoum;
of $1000, against Defendant;

0, Awarding Plaintii`f actual damages, in the amount 0£`$1080, against Defendant;

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p. Awarding Plaintiff any attorney’s fees and costs incurred in this action, against
Defen<iant;

q. Awardlng Plaintiff any pre-judgment and postjudgment interest as may be allowed
under the law, against Defendam;

r. Awarding Plainti&` such other and further relief as the Cou:‘i; may deem jest and proper,
against Defendant‘

B§`,MAND F€}R TR§AL BY jURY
Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law
Dai;ed: lone 27, 20l3

Respeclfully Submitted,

f jj
aj / ee§/?Z;
ad J. El<hlas
' Edelweiss
RSM, CA 92688

 

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